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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


 Criminal Case No. 22-cr-212-RMR

 UNITED STATES OF AMERICA,

        Plaintiff,
 v.

 JOSEPH EUGENE CLEMENTS

        Defendant.


                       ORDER TO RESTRICT ECF DOCUMENT 87


        This matter is before the Court on the Government’s Motion to Restrict ECF

 Document 87. Upon consideration and for good cause shown, IT IS ORDERED that

 ECF Document 87, any order revealing the contents of that document, and the brief filed

 in support of the motion shall be restricted to “Level 2" and will be “viewable by selected

 parties and court” only.

        IT IS SO ORDERED on this        day of ____________, 2023.



                                    ___________________________________________
                                    UNITED STATES DISTRICT COURT JUDGE
                                    DISTRICT OF COLORADO
